Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                                                                                NJC
                               Case Number: 19-cr-20450-SCOLA

  UNITED STATES OF AMERICA,                                                           Feb 23, 2021
                        Plaintiff,
                                                                                                       MIAMI
                 v.                                               EX PARTE
                                                              FILED UNDER SEAL
  ALEX NAIN SAAB MORAN,

                    Defendant.
  __________________________________/

    UNITED STATES’ EX PARTE NOTICE OF ADDITIONAL FACTS IN SUPPORT OF
    RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO VACATE ORDER
             CONFERRING FUGITIVE STATUS AND FOR LEAVE FOR
             SPECIAL APPEARANCE TO CHALLENGE INDICTMENT

         The United States of America, through the undersigned counsel, pursuant to United States

  District Court for the Southern District of Florida Local Rule 5.4(d), hereby files this Ex Parte

  Notice of Additional Facts in Support of the Response in Opposition to Defendant Alex Nain

  SAAB MORAN’s (“SAAB MORAN”) Motion To Vacate Order Conferring Fugitive Status And

  For Leave For Special Appearance To Challenge Indictment (hereinafter “the Motion”). [DE 24].

                  FACTS SUPPORTING UNDER SEAL, EX PARTE FILING

         The United States files this Notice of Additional Facts ex parte due to the fact that

  disclosure of these facts, even to purported counsel for SAAB MORAN, counsel from Baker

  Hostetler, could result in harm to SAAB MORAN and/or his family. The additional facts

  discussed herein relate to SAAB MORAN’s cooperation with law enforcement prior to being

  indicted in the Southern District of Florida. In particular, over the course of nearly twelve (12)

  months, SAAB MORAN cooperated with agents from the Drug Enforcement Administration

  (“DEA”), provided DEA with information about his criminal activity, engaged in proactive
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 2 of 8




  cooperation as a confidential source for the DEA, and forfeited money to the United States and

  DEA as part of an agreement to self-surrender in the United States in order to face charges for his

  criminal conduct. In light of SAAB MORAN’s cooperation, which included providing law

  enforcement with information about the bribes that he paid and the crimes that he committed, the

  United States has concerns regarding the safety and security of SAAB MORAN and/or his family

  were this information to be disclosed to the Maduro Regime in Venezuela. See “Venezuelan

  charged in Miami money laundering case gunned down by motorcycle assassin,” Sept. 2, 2020,

  available at https://www.miamiherald.com/news/local/article245436795.html.

         As noted in the government’s publicly-filed response in opposition to the Motion, counsel

  from Baker Hostetler has failed to prove to the satisfaction of the United States that they actually

  represent SAAB MORAN and not some other entity or individual, including (perhaps

  unknowingly) the Government of Venezuela. Irrespective of whether or not counsel from Baker

  Hostetler actually represent SAAB MORAN, the disclosure of the below-listed facts could

  nevertheless endanger SAAB MORAN and potentially his family, some of whom are still in

  Venezuela. If counsel from Baker Hostetler do in fact represent SAAB MORAN, a man who is

  currently under house arrest in Cabo Verde fighting extradition to the United States and who has

  not received any visits from citizens of the United States, it stands to reason that any

  communications between counsel from Baker Hostetler and SAAB MORAN would need to be

  conducted through a third party. Therefore, disclosure of the below-listed facts to counsel from

  Baker Hostetler could potentially lead to disclosure to such a third-party, who may intentionally

  or unintentionally reveal the same facts to representatives from the Venezuelan government,

  creating potential risk of harm to SAAB MORAN and/or his family.




                                                   2
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 3 of 8




         Indeed, the contents of the Motion filed by counsel from Baker Hostetler suggests that they

  may not, in fact, actually represent SAAB MORAN. In particular, the Motion fails to mention or

  even allude to SAAB MORAN’s cooperation with law enforcement, including that SAAB

  MORAN provided information about the bribes that he paid, the crimes that he committed, and

  the monies he forfeited to DEA – all facts that conflict-free counsel would normally disclose and

  confront in such a filing, at a minimum in a sealed filing. The fact that counsel from Baker

  Hostetler did not mention those facts in the Motion, even in a sealed filing, raises the significant

  possibility that the lawyers were retained by another individual or entity. Therefore, disclosure of

  the below-listed facts to counsel from Baker Hostetler raises a significant concern that, if counsel

  do not actually represent SAAB MORAN, but rather some other third party, the sensitive

  information described below could be provided to the Venezuelan government, potentially

  creating a risk of harm for SAAB MORAN and/or his family. Accordingly, the United States

  requests permission to make this filing under seal and ex parte.

         While courts recognize a “qualified First Amendment right” to access judicial documents

  and proceedings and a presumptive right of access to judicial documents under the common law,

  United States v. Ochoa-Vasquez, 428 F.3d 1015, 1028-1030 (11th Cir. 2005) (citing Globe

  Newspaper Co. v. Superior Court for the County of Norfolk, 457 U.S. 596, 603 (1982); Nixon v.

  Warner Communications, Inc., 435 U.S. 589, 597-98 (1978)), that right of access is not absolute.

  The public’s “qualified” right of access may be overcome in certain circumstances, including

  where a court makes “specific” findings regarding “an overriding interest based on findings that

  closure is essential to preserve higher values and is narrowly tailored to serve that interest.” Ochoa-

  Vasquez, 428 F.3d at 1030; see United States v. Alcantara, 396 F.3d 189, 199 (2d Cir. 2005).

  Where, as here, the denial of public access is “necessitated by a compelling governmental interest,



                                                    3
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 4 of 8




  and is narrowly tailored to serve that interest,” a limited sealing order is appropriate. Globe

  Newspaper Co., 457 U.S. at 606-07.

          In the event that the Court denies the request for this ex parte filing, the United States

  respectfully requests that the Court grant it leave to re-file the notice of additional facts in a

  modified format under seal and pursuant to a protective order restricting dissemination of the filing

  only to counsel from Baker Hostetler.

           ADDITIONAL FACTS IN SUPPORT OF THE APPLICABILITY OF THE
                     FUGITIVE DISENTITLEMENT DOCTRINE


          In support of the position of the United States that SAAB MORAN is a fugitive and that

  the fugitive disentitlement doctrine should apply to him and the pending Motion should be denied

  without prejudice, the United States states the following:

          On August 8 and August 10, 2016, SAAB MORAN, represented by criminal counsel in

  the United States and his Colombian lawyer, 1 met with special agents from the DEA and the

  Federal Bureau of Investigation (“FBI”) in Bogota, Colombia. During these meetings, SAAB

  MORAN was debriefed and provided information relating to certain of his companies that

  contracted with the Government of Venezuela to build low-income housing, including how those

  companies were paid in connection with the contracts and how the money flowed after his

  companies received the funds. On November 28, 2017, SAAB MORAN, joined by his Colombian

  counsel, met with special agents from the DEA and an Assistant United States Attorney for another

  debriefing.




  1 This is the same Colombian law firm that issued a press release when SAAB MORAN was sanctioned by the U.S.
  Department of the Treasury, Office of Foreign Assets Control (“OFAC”) on July 25, 2019, the same day SAAB
  MORAN was indicted in this criminal case in the Southern District of Florida. [See DE 24, Exhibit 1.]

                                                       4
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 5 of 8




         On June 2, 2018, a different U.S. counsel met with SAAB MORAN and subsequently

  provided a draft attorney proffer via email to U.S. counsel which stated that bribes were paid to

  Venezuelan government officials. In subsequent debriefings, SAAB MORAN admitted to the

  government that he had paid bribes to Venezuelan government officials in connection with the

  contracts he was awarded for providing food to Venezuela.

         On June 27, 2018, SAAB MORAN signed a cooperating source (“CS”) agreement with

  the DEA and became an active law enforcement source shortly thereafter, communicating with

  special agents from the DEA via telephone, text, and voice messaging. As part of his cooperation,

  SAAB MORAN also engaged in proactive cooperation.

         SAAB MORAN also agreed to disgorge profits obtained by SAAB MORAN and his co-

  defendant Alvaro Pulido Vargas, a/k/a “German Enrique Rubio Salas,” from illicit activity

  conducted as part of the conspiracy. For example, on approximately August 9, 2018, SAAB

  MORAN caused a wire transfer of $3,255,593.90 from an account he controlled to a bank account

  controlled by DEA. In addition, on approximately September 24, 2018, SAAB MORAN caused

  a wire transfer of $3,313,757.69 from an account he controlled to a bank account controlled by

  DEA. Also, on approximately November 1, 2018, SAAB MORAN caused a wire transfer of

  $3,138,844.70 from an account he controlled to a bank account controlled by DEA. Finally, on

  approximately February 5, 2019, SAAB MORAN caused a wire transfer of $2,942,501.37 from

  an account he controlled to a bank account controlled by DEA.

         On April 4, 2019, SAAB MORAN, represented by his U.S. counsel, met with special

  agents from the DEA and prosecutors from the U.S. Attorney’s Office and the Department of

  Justice in Europe. At that meeting, SAAB MORAN was provided a deadline by which to surrender

  to U.S. authorities in the Southern District of Florida in connection with his criminal conduct.



                                                 5
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 6 of 8




  SAAB MORAN was further advised that, if he failed to surrender by May 30, 2019, he would no

  longer remain a cooperating source and would be charged criminally in the Southern District of

  Florida.

         In subsequent communications with SAAB MORAN through text messages in May 2019,

  special agents from the DEA reiterated the deadline by which SAAB MORAN would need to self-

  surrender to U.S. authorities in the Southern District of Florida and noting that a failure to surrender

  would result in SAAB MORAN no longer remaining a cooperating source, being placed on the

  OFAC sanctions list, and being charged criminally, On May 30, 2019, the DEA began to

  deactivate SAAB MORAN as a cooperating source and have not receive any further

  communications from SAAB MORAN since that time.

         On July 25, 2019, SAAB MORAN was indicted in this case in the Southern District of

  Florida.    Following this indictment, the DEA agents and counsel for the government

  communicated with then U.S. counsel for SAAB MORAN regarding the charges. Counsel for the

  government also has been in more recent communication with another U.S. counsel for SAAB

  MORAN, Neil M. Schuster, who produced a signed representation letter from SAAB MORAN

  about SAAB MORAN’s potential for cooperation if he were extradited to the United States.

  Counsel from Baker Hostetler informed undersigned counsel that they were aware of Neil M.

  Schuster’s potential representation of SAAB MORAN, but stated that they have not inquired

  regarding the scope of his representation on behalf of SAAB MORAN.

         As the relevant question in determining whether SAAB MORAN is a fugitive under the

  fugitive disentitlement doctrine is whether he “knew of the indictment and ‘refused to surrender

  himself to th[e] jurisdiction of the court,’” these additional facts, submitted ex parte, clearly help

  establish that SAAB MORAN is, in fact, a fugitive in this pending criminal case, and therefore,



                                                     6
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 7 of 8




  should not be able to avail himself of the process of the Court without appearing personally. See

  United States v. Shalhoub, 855 F.3d 1255, 1263 (11th Cir. 2017) (quoting United States v.

  Barnette, 129 F.3d 1179, 1184 (11th Cir. 1997)); see also Barnette, 129 F.3d at 1184 (“[I]ntent to

  flee from prosecution or arrest may be inferred from a person’s failure to surrender to authorities.”

  (quoting In re Assets of Martin, 1 F.3d 1351, 1356 (3d Cir. 1993)); Schuster v. United States, 765

  F.2d 1047, 1050-51 (11th Cir. 1985) (explaining that an individual outside of the United States

  may be a “fugitive from justice” if he is “absen[t] with intent of escaping prosecution”). For

  example, as the above facts make clear, agents from the DEA and government counsel specifically

  advised SAAB MORAN in April and May 2019 that his failure to surrender to U.S. authorities

  would result in him being charged in the Southern District of Florida – which occurred shortly

  thereafter in July 2019. In addition, government counsel specifically advised SAAB MORAN’s

  counsel that he had been charged very shortly after the return of the indictment. Rather than

  address those charges in the United States, SAAB MORAN chose to remain a fugitive in

  Venezuela, until his arrest in Cabo Verde while en route to Iran in July 2020. Finally, SAAB

  MORAN has opted to remain a fugitive in light of the significant evidence against him, including

  statements made during the course of his cooperation with the DEA.




                                                   7
Case 1:19-cr-20450-RNS Document 26 Entered on FLSD Docket 02/23/2021 Page 8 of 8




                                                    CONCLUSION

           For the above-stated reasons, as well as those addressed in the government’s publicly-filed

  Response in Opposition to Defendant Alex Nain SAAB MORAN’s Motion To Vacate Order

  Conferring Fugitive Status And For Leave For Special Appearance To Challenge Indictment,

  respectfully requests that the Court deny the Motion without prejudice. 2


                                                                    ARIANA FAJARDO ORSHAN
                                                                    UNITED STATES ATTORNEY

                                                                    By:                          _
                                                                        Kurt K. Lunkenheimer
                                                                        Assistant U.S. Attorney
                                                                        Court ID No. A5501535
                                                                        99 N.E. 4th Street
                                                                        Miami, Florida 33132-2111
                                                                        TEL (305) 961-9008
                                                                        Kurt.Lunkenheimer@usdoj.gov

                                                                    DANIEL S. KAHN
                                                                    ACTING CHIEF, FRAUD SECTION
                                                                    Criminal Division
                                                                    U.S. Department of Justice

                                                                    By:                                 _
                                                                          Alexander Kramer
                                                                          Trial Attorney
                                                                          Criminal Division, Fraud Section
                                                                          U.S. Department of Justice
                                                                          Court ID No. A5502240
                                                                          1400 New York Ave. NW
                                                                          Washington, DC 20005
                                                                          TEL (202) 768-1919
                                                                          alexander.kramer@usdoj.gov




  2
   As noted above, in the event that the Court denies the request for this ex parte filing, the United States respectfully
  requests that the Court grant it leave to re-file the notice of additional facts in a modified format under seal and
  pursuant to a protective order restricting dissemination of the filing only to counsel from Baker Hostetler.

                                                             8
